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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION


 UNITED STATES OF AMERICA                        §
                                                 §
                                                 §                   CASE NO. 4:07cr77(13)
 v.                                              §
                                                 §
 THOMAS PAUL RAMIREZ                             §

  REPORT AND RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE
        DENYING DEFENDANT’S MOTION TO SUPPRESS STATEMENT

        This matter having been referred by the Honorable Marcia A. Crone, the Court has

 considered Defendant’s Motion to Suppress Statement (Dkt. 225). After considering the evidence

 presented and the arguments of counsel, the Court finds that the motion should be denied.

        In his motion, Defendant Thomas Paul Ramirez seeks to suppress oral statements he made

 while in the custody of federal authorities during the car ride to his initial appearance and

 arraignment in this matter. Defendant claims that the statements were taken in violation of his

 constitutional rights to counsel and due process. According to Defendant, his statements to U.S.

 Postal Inspectors, who were working on his case and transporting him from the Collin County jail

 to the courthouse in Sherman, were not made voluntarily. Essentially, the Defendant argues that,

 at the time he made the statements to the U.S. Postal Inspectors he was in severe pain, without the

 benefit of medication, and that this pain rendered his statements, or the waiver of his rights,

 involuntary.

        The Fifth Amendment protects an individual’s right to be free from compelled self-

 incrimination. Thus, the Government may use at trial only those confessions that are voluntarily

 made. 18 U.S.C. § 3501(a); Malloy v. Hogan, 378 U.S. 1, 6, 84 S. Ct. 1489, 12 L. Ed.2d 653 (1964).

 In order for the Government to introduce Defendant’s statement, it generally must prove that the


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 accused voluntarily, knowingly and intelligently waived his Miranda rights. Miranda v. Arizona,

 384 U.S. 436, 86 S.Ct. 1602, 16 L.Ed.2d 694 (1966). To prove a valid waiver, the Government must

 show that the relinquishment of the defendant’s rights was voluntary and the defendant was fully

 aware that the right was being waived and the consequences of waiving that right. Id.

        On January 22, 2008, the Court held a hearing on Defendant’s motion. At that hearing, the

 Government offered the testimony of United States Postal Inspectors Bill Vivoni and Brad Meyer.

 Defendant testified on his own behalf and also offered the testimony of his wife and co-defendant,

 Cheryl Brown.

        Defendant testified that, shortly before his arrest, he had been hospitalized for back pain and

 that he was on medication at the time of his arrest to reduce such pain. Defendant testified that he

 was not given his pain medication during the approximately two days during which he was in the

 Collin County jail awaiting his initial appearance in this Court. It was during his transport from

 Collin County to his initial appearance that Defendant made the statements he seeks to suppress.

 Defendant testified he was in severe pain during the car ride and that he lacked the mental ability to

 make the choice to waive his rights. Defendant’s wife, Cheryl Brown, also testified that she had

 observed that when Defendant was in pain, he was unable to concentrate. Brown was not present

 at the time Defendant made the statements at issue.

        According to the evidence presented by the Government, after Defendant questioned

 inspectors Vivoni and Meyer about the charges pending against him, Defendant was read his

 Miranda warnings and informed that the agents could only speak to him if he chose to waive those

 rights. Vivoni testified that he read from a Miranda warnings card that he always uses, and Meyers

 testified that he has an independent recollection of Vivoni administering the warnings. According

 to both Vivoni and Meyer, Defendant stated that he understood those rights. Further, the evidence


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 indicates that, after being administered those rights, Defendant voluntarily began giving statements

 to the postal inspectors about his involvement in the charges made against him. Although he

 remembered Defendant indicating that he was experiencing some pain, Vivoni testified that there

 was no indication that Defendant did not understand his rights or that this pain prevented him from

 making a knowing waiver of them. According to Meyer, Defendant was not grimacing, did not have

 trouble breathing or speaking, and seemed to understand everything he was being told.

        Further, Defendant claims his arms and legs were “shackled,” implying that such restraint

 compromised the voluntary nature of his waiver of rights. While Vivoni and Meyers agree that

 Defendant was handcuffed (as is their policy when making such transports), Vivoni and Meyers

 stated that they do not use leg shackles. The Court finds that the manner of restraint used was

 reasonable and did not coerce or cause Defendant to involuntarily waive his rights.

        The Court also notes that Defendant testified that the first time he recalls being read his rights

 was on his return trip from his initial appearance. The minute entry from Defendant’s initial

 appearance and arraignment indicate that he was given those rights at that time – before his car trip

 home. See Dkt. 191. Further, the minute entry indicates that Defendant indicated that he was

 physically and mentally ready to make such an appearance during the hearing – which was conducted

 shortly after Defendant made the statements at issue. Defendant had not received any pain

 medication between the time he made the statements and the time he was arraigned.

        After considering the evidence and testimony presented at the hearing, the Court finds that

 Defendant’s Motion to Suppress Statement should be denied. Specifically, the Court finds that

 Defendant made a knowing and voluntary waiver of his Miranda rights and was not coerced or

 threatened by law enforcement officers to do so. The Government has satisfied its burden of

 showing that Defendant here knowingly and voluntarily waived his rights prior to making the


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     statements he seeks to suppress. Therefore, there is no basis for suppression.

                                         RECOMMENDATION

            The Court recommends that the District Court DENY Defendant’s Motion to Suppress

     Statement (Dkt. 225).

            Within ten (10) days after service of the magistrate judge’s report, any party may serve and

     file written objections to the findings and recommendations of the magistrate judge. 28 U.S.C.A.

     § 636(b)(1)(c).

            Failure to file written objections to the proposed findings and recommendations contained

     in this report within ten days after service shall bar an aggrieved party from de novo review by the

     district court of the proposed findings and recommendations and from appellate review of factual
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     findings accepted or adopted by the district court except on grounds of plain error or manifest

     injustice. Thomas v. Arn, 474 U.S. 140, 148 (1985); Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th

     Cir. 1988).


            SIGNED this 23rd day of January, 2008.

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                                                    ____________________________________
                                                    DON D. BUSH
                                                    UNITED STATES MAGISTRATE JUDGE




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